Filed 03/01/22                                 Case 18-02187                                                       Doc 311


           1     30
           2     YOUNG & LAZZARINI
                 KENRICK YOUNG (CSB #236032)
           3     NICHOLAS LAZZARINI (CSB #259247)
           4     770 L Street, Suite 950
                 Sacramento, CA 95814
           5     916.929.6865 (tel)
           6     916.471.0377 (fax)
                 info@kenrickyoung.com
           7
           8     Attorneys for Plaintiff Dominique Black, an individual

           9                         UNITED STATES BANKRUPTCY COURT
           10                         EASTERN DISTRICT OF CALIFORNIA

           11    In re:                           )          Case No. 18-25001-E-7
           12                                     )
           13    JOSEPH H. AKINS                  )          Adv. Proc. No. 18-02187
                                                  )
           14              Debtor.                )          DCN: RLF-021
           15                                     )
           16    DOMINIQUE BLACK,                 )          PLAINTIFF’S INDEX OF
                                                  )          EXHIBITS IN SUPPORT OF
           17              Plaintiff,             )          OPPOSITION TO DEFENDANT’S
           18                                     )          MOTION FOR SANCTIONS
           19    v.                               )
                                                  )          Date: March 17, 2022
           20    JOSEPH H. AKINS,                 )          Time: 11:00 a.m.
           21                                     )          Place: United States Bankruptcy Court
           22              Defendant.             )                 501 I Street, 6th Floor, Crtm. 33
                                                  )                 Sacramento, CA 95814
           23                                     )                 Hon. Ronald H. Sargis
           24    ________________________________ )
           25
           26
           27
           28
                 INDEX OF EXHIBITS                                                         YOUNG & LAZZARINI
                                                      -1 -                               770 L STREET, SUITE 950
                                                                                        SACRAMENTO, CA 95814
                                                                                                    916.929.6865
Filed 03/01/22                                   Case 18-02187                                                       Doc 311


           1           Plaintiff Dominque Black (“Plaintiff” or “Mr. Black”) hereby submits his
           2     exhibits in support of his Opposition to Motion for Sanctions filed by Joseph H.
           3     Akins, Jr., as successor-in-interest and as personal representative of the Estate of
           4     Joseph H. Akins:
           5
           6                                Description                                  Pages
                 No.
           7           Defendant’s 3rd Amended Notice of Taking of
                 1.                                                                      3 - 15
                       Deposition & Request for Document Production to
           8
                       Dominique Black
           9           Screenshot of Fireman’s Fund Document Production
                 2.                                                                     16 - 17
           10
                       Dominique Black’s Amended Second Supplemental
                 3.                                                                     18 - 28
           11          Responses to First Set of Requests for Production
           12          Screenshot of Document Production for First Set of
                 4.                                                                     29 - 30
                       Requests for Production
           13
           14
           15
           16
           17    Date: March 1, 2022                      YOUNG & LAZZARINI

           18
           19                                             /s/ Nicholas Lazzarini
                                                                    NICHOLAS LAZZARINI
           20                                                     Attorney for Dominique Black
           21
           22
           23
           24
           25
           26
           27
           28
                 INDEX OF EXHIBITS                                                           YOUNG & LAZZARINI
                                                        -2 -                               770 L STREET, SUITE 950
                                                                                          SACRAMENTO, CA 95814
                                                                                                      916.929.6865
Filed 03/01/22   Case 18-02187       Doc 311




                                 1
Filed 03/01/22   Case 18-02187   Doc 311
Filed 03/01/22   Case 18-02187   Doc 311
Filed 03/01/22   Case 18-02187   Doc 311
Filed 03/01/22   Case 18-02187   Doc 311
Filed 03/01/22   Case 18-02187   Doc 311
Filed 03/01/22   Case 18-02187   Doc 311
Filed 03/01/22   Case 18-02187   Doc 311
Filed 03/01/22   Case 18-02187   Doc 311
Filed 03/01/22   Case 18-02187   Doc 311
Filed 03/01/22   Case 18-02187   Doc 311
Filed 03/01/22   Case 18-02187   Doc 311
Filed 03/01/22   Case 18-02187   Doc 311
Filed 03/01/22   Case 18-02187       Doc 311




                                 2
Filed 03/01/22   Case 18-02187   Doc 311
Filed 03/01/22   Case 18-02187       Doc 311




                                 3
Filed 03/01/22                                 Case 18-02187                                                     Doc 311


           1
                 10
           2     YOUNG & LAZZARINI
                 KENRICK YOUNG (CSB #236032)
           3
                 NICHOLAS LAZZARINI (CSB #259247)
           4     770 L Street, Suite 950
                 Sacramento, California 95814
           5
                 916.929.6865
           6     916.471.0377 (fax)
                 info@kenrickyoung.com
           7
           8     Attorneys for Plaintiff Dominique Black, an individual
           9
                                   UNITED STATES BANKRUPTCY COURT
           10                       EASTERN DISTRICT OF CALIFORNIA
           11
                 In re:                           )         Case No. 18-25001-E-7
           12                                     )
           13    JOSEPH H. AKINS                  )         Adv. Proc. No. 18-02187
                                                  )
           14
                           Debtor.                )         DOMINIQUE BLACK’S
           15                                     )         AMENDED SECOND
           16    DOMINIQUE BLACK,                 )         SUPPLEMENTAL RESPONSES TO
                                                  )         FIRST SET OF REQUESTS FOR
           17
                           Plaintiff,             )         PRODUCTION
           18                                     )
           19    v.                               )
                                                  )
           20
                 JOSEPH H. AKINS,                 )
           21                                     )
           22              Defendant.             )
                 ________________________________ )
           23
           24
                 PROPOUNDING PARTY:             Estate Representative of Joseph Akins Sr.
           25
                 RESPONDING PARTY:              Plaintiff Dominique Black, an individual
           26
                 SET:                           ONE
           27
           28
                 RESPONSES TO REQUESTS FOR                                               YOUNG & LAZZARINI
                 PRODUCTION [SET ONE]                      -1 -                        770 L STREET, SUITE 950
                                                                                      SACRAMENTO, CA 95814
                                                                                                  916.929.6865
Filed 03/01/22                                   Case 18-02187                                                        Doc 311


           1
                                               PRELIMINARY OBJECTIONS
           2
                         (1)   These responses are made although Plaintiff Dominique Black
           3
                 (“Responding Party”) has not yet completed discovery. Consequently, the following
           4
                 responses are given without prejudice to Responding Party’s right to amend,
           5
                 supplement or modify them at a later time, and are subject to Responding Party’s
           6
                 right to produce at the time of trial, deposition, hearing on a motion, or any other
           7
                 time, subsequently discovered information or evidence relating to the proof of
           8
                 presently known material facts, and to produce all evidence, whether discovered,
           9
                 relating to the proof of subsequently discovered material facts.
           10
                         (2)   These responses are made solely for the purpose of, and in relation to,
           11
                 this action. Each response is given subject to all appropriate objections, including,
           12
                 but not limited to, objections concerning attorney-client privilege, work product
           13
                 doctrine, competency, relevancy, materiality, propriety, and admissibility, which
           14
                 would require the exclusion of any documents produced if the documents were
           15
                 produced by or any statement contained herein were made by, a witness present to
           16
                 testify at trial. All such objections and grounds therefore are reserved and may be
           17
                 interposed at the time of trial, at a deposition, at a hearing on a motion, or any other
           18
                 time.
           19
                         (3)   Except for facts explicitly admitted herein, no admission of any nature
           20
                 whatsoever is to be implied or inferred. The fact that a request herein has been
           21
                 answered should not be taken as an admission, or a concession of the existence of
           22
                 any fact set forth or assumed by such request or that such response constitutes
           23
                 evidence of any fact thus set forth or assumed.
           24
                         (4)   The responses and objections are made on the basis of information and
           25
                 writings presently available to Responding Party’s reasonable investigation.
           26
                         The foregoing Preliminary Objections are specifically incorporated by
           27
                 reference in each response below.
           28
                 RESPONSES TO REQUESTS FOR                                                    YOUNG & LAZZARINI
                 PRODUCTION [SET ONE]                         -2 -                          770 L STREET, SUITE 950
                                                                                           SACRAMENTO, CA 95814
                                                                                                       916.929.6865
Filed 03/01/22                                  Case 18-02187                                                   Doc 311


           1
                                                   RESPONSES
           2
                 RESPONSE TO REQUEST NUMBER 1:
           3
                    In his First Amended Complaint, Plaintiff Dominique Black alleges a unity of
           4
                 interest between Nor-Cal Classic GMC Motorhome, David Tirpak, Anthony
           5
                 Sarganis, Albert Akins, and Joseph H. Akins, Sr (collectively, “NORCAL”). All
           6
                 payments to NORCAL are payments to all members of NORCAL including Joseph
           7
                 H. Akins, Sr., individually.
           8
                    Documents attached as described below:
           9
           10    Document ID       Document Name                       Description
           11    200902975001 CV 081975 First Amended                  CV 081975 First
           12                      Complaint - Marin                   Amended Complaint
           13    200707975005 Receipts and Invoices                    Supporting Financial
           14                      (Folders A and B)                   Documents
           15
           16    RESPONSE TO REQUEST NUMBER 2:
           17       In his First Amended Complaint, Plaintiff Dominique Black alleges a unity of
           18    interest between Nor-Cal Classic GMC Motorhome, David Tirpak, Anthony
           19    Sarganis, Albert Akins, and Joseph H. Akins, Sr (collectively, “NORCAL”). All
           20    payments to NORCAL are payments to all members of NORCAL including Joseph
           21    H. Akins, Sr., individually.
           22       Documents attached as described below:
           23
                 Document ID       Document Name                       Description
           24
                 200902975001 CV 081975 First Amended                  CV 081975 First
           25
                                   Complaint - Marin                   Amended Complaint
           26
                 200707975005 Receipts and Invoices                    Supporting Financial
           27
                                   (Folders A and B)                   Documents
           28
                 RESPONSES TO REQUESTS FOR                                              YOUNG & LAZZARINI
                 PRODUCTION [SET ONE]                     -3 -                        770 L STREET, SUITE 950
                                                                                     SACRAMENTO, CA 95814
                                                                                                 916.929.6865
Filed 03/01/22                                  Case 18-02187                                                   Doc 311


           1
           2
                 RESPONSE TO REQUEST NUMBER 3:
           3
                    In his First Amended Complaint, Plaintiff Dominique Black alleges a unity of
           4
                 interest between Nor-Cal Classic GMC Motorhome, David Tirpak, Anthony
           5
                 Sarganis, Albert Akins, and Joseph H. Akins, Sr (collectively, “NORCAL”). All
           6
                 payments to NORCAL are payments to all members of NORCAL including Joseph
           7
                 H. Akins, Sr., individually.
           8
                    Documents attached as described below:
           9
           10    Document ID       Document Name                       Description
           11    200902975001 CV 081975 First Amended                  CV 081975 First
           12                      Complaint - Marin                   Amended Complaint
           13    200707975005 Receipts and Invoices                    Supporting Financial
           14                      (Folders A and B)                   Documents
           15
           16    RESPONSE TO REQUEST NUMBER 4:
           17       In his First Amended Complaint, Plaintiff Dominique Black alleges a unity of
           18    interest between Nor-Cal Classic GMC Motorhome, David Tirpak, Anthony
           19    Sarganis, Albert Akins, and Joseph H. Akins, Sr (collectively, “NORCAL”). All
           20    payments to NORCAL are payments to all members of NORCAL including Joseph
           21    H. Akins, Sr., individually.
           22       Documents attached as described below:
           23
                 Document ID       Document Name                       Description
           24
                 200902975001 CV 081975 First Amended                  CV 081975 First
           25
                                   Complaint - Marin                   Amended Complaint
           26
                 200707975005 Receipts and Invoices                    Supporting Financial
           27
                                   (Folders A and B)                   Documents
           28
                 RESPONSES TO REQUESTS FOR                                              YOUNG & LAZZARINI
                 PRODUCTION [SET ONE]                     -4 -                        770 L STREET, SUITE 950
                                                                                     SACRAMENTO, CA 95814
                                                                                                 916.929.6865
Filed 03/01/22                                  Case 18-02187                                                   Doc 311


           1
                 RESPONSE TO REQUEST NUMBER 5:
           2
                    In his First Amended Complaint, Plaintiff Dominique Black alleges a unity of
           3
                 interest between Nor-Cal Classic GMC Motorhome, David Tirpak, Anthony
           4
                 Sarganis, Albert Akins, and Joseph H. Akins, Sr (collectively, “NORCAL”). All
           5
                 payments to NORCAL are payments to all members of NORCAL including Joseph
           6
                 H. Akins, Sr., individually.
           7
                    Documents attached as described below:
           8
           9     Document ID       Document Name                       Description
           10    200902975001 CV 081975 First Amended                  CV 081975 First
           11                      Complaint - Marin                   Amended Complaint
           12    200707975005 Receipts and Invoices                    Supporting Financial
           13                      (Folders A and B)                   Documents
           14
           15    RESPONSE TO REQUEST NUMBER 6:
           16       In his First Amended Complaint, Plaintiff Dominique Black alleges a unity of
           17    interest between Nor-Cal Classic GMC Motorhome, David Tirpak, Anthony
           18    Sarganis, Albert Akins, and Joseph H. Akins, Sr (collectively, “NORCAL”). All
           19    payments to NORCAL are payments to all members of NORCAL including Joseph
           20    H. Akins, Sr., individually.
           21       Documents attached as described below:
           22
                 Document ID       Document Name                       Description
           23
                 200902975001 CV 081975 First Amended                  CV 081975 First
           24
                                   Complaint - Marin                   Amended Complaint
           25
                 200707975005 Receipts and Invoices                    Supporting Financial
           26
                                   (Folders A and B)                   Documents
           27
           28
                 RESPONSES TO REQUESTS FOR                                              YOUNG & LAZZARINI
                 PRODUCTION [SET ONE]                     -5 -                        770 L STREET, SUITE 950
                                                                                     SACRAMENTO, CA 95814
                                                                                                 916.929.6865
Filed 03/01/22                                  Case 18-02187                                                   Doc 311


           1
                 RESPONSE TO REQUEST NUMBER 7:
           2
                    In his First Amended Complaint, Plaintiff Dominique Black alleges a unity of
           3
                 interest between Nor-Cal Classic GMC Motorhome, David Tirpak, Anthony
           4
                 Sarganis, Albert Akins, and Joseph H. Akins, Sr (collectively, “NORCAL”). All
           5
                 payments to NORCAL are payments to all members of NORCAL including Joseph
           6
                 H. Akins, Sr., individually.
           7
                    Documents attached as described below:
           8
           9     Document ID       Document Name                       Description
           10    200902975001 CV 081975 First Amended                  CV 081975 First
           11                      Complaint - Marin                   Amended Complaint
           12    200707975005 Receipts and Invoices                    Supporting Financial
           13                      (Folders A and B)                   Documents
           14
           15    RESPONSE TO REQUEST NUMBER 8:
           16          No loan is alleged in the FAC and so no responsive documents exist.
           17
           18    RESPONSE TO REQUEST NUMBER 9:
           19          No loan is alleged in the FAC and so no responsive documents exist.
           20
           21    RESPONSE TO REQUEST NUMBER 10:
           22          Documents attached as follows:
           23
           24    Document ID       Document Name             Description
           25    199907975002 Tirpak Settlement              Settlement Agreement
           26                      Agreement
           27
           28
                 RESPONSES TO REQUESTS FOR                                              YOUNG & LAZZARINI
                 PRODUCTION [SET ONE]                     -6 -                        770 L STREET, SUITE 950
                                                                                     SACRAMENTO, CA 95814
                                                                                                 916.929.6865
Filed 03/01/22                                    Case 18-02187                                                      Doc 311


           1
                 RESPONSE TO REQUEST NUMBER 11:
           2
                          Documents attached as follows:
           3
           4
                  Document ID        Document Name              Description
           5
                  199907975002 Tirpak Settlement                Settlement Agreement
           6
                                     Agreement
           7
           8
                 RESPONSE TO REQUEST NUMBER 12:
           9
                          As described in the FAC, Plaintiff received $400,000.00 as part of a
           10
                 confidential settlement agreement with the Estate of Anthony Sarganis. The
           11
                 confidential settlement agreement states that it cannot be disclosed without court
           12
                 order.
           13
                          Counsel for Plaintiff has the document in his possession described as follows:
           14
           15
                      1. April 10, 2018 Settlement agreement
           16
           17
                      Document will be produced if ordered by the Court or if permission can be
           18
                 obtained by co-signors of the document. Plaintiff will supplement this response will
           19
                 additional records evidencing payment if located.
           20
                          Documents attached as follows:
           21
           22     Document ID        Document Name                   Description
           23     199907975002 Tirpak Settlement                     Settlement Agreement
           24                  Agreement
           25
           26    //
           27    //
           28    //

                 RESPONSES TO REQUESTS FOR                                                   YOUNG & LAZZARINI
                 PRODUCTION [SET ONE]                         -7 -                         770 L STREET, SUITE 950
                                                                                          SACRAMENTO, CA 95814
                                                                                                      916.929.6865
Filed 03/01/22                                    Case 18-02187                                                      Doc 311


           1
                 RESPONSE TO REQUEST NUMBER 13:
           2
                          As described in the FAC, Plaintiff received $400,000.00 as part of a
           3
                 confidential settlement agreement with the Estate of Anthony Sarganis. The
           4
                 confidential settlement agreement states that it cannot be disclosed without court
           5
                 order.
           6
                          Counsel for Plaintiff has the document in his possession described as follows:
           7
           8
                      1. April 10, 2018 Settlement agreement
           9
           10
                      Document will be produced if ordered by the Court or if permission can be
           11
                 obtained by co-signors of the document. Plaintiff will supplement this response will
           12
                 additional records evidencing payment if located.
           13
           14
                 RESPONSE TO REQUEST NUMBER 14:
           15
                          As described in the FAC, Plaintiff received $400,000.00 as part of a
           16
                 confidential settlement agreement with the Estate of Anthony Sarganis. The
           17
                 confidential settlement agreement states that it cannot be disclosed without court
           18
                 order.
           19
                          Counsel for Plaintiff has the document in his possession described as follows:
           20
           21
                      1. April 10, 2018 Settlement agreement
           22
           23
                      Document will be produced if ordered by the Court or if permission can be
           24
                 obtained by co-signors of the document. Plaintiff will supplement this response will
           25
                 additional records evidencing payment if located.
           26
                          Documents attached as follows:
           27
                 //
           28
                 //
                 RESPONSES TO REQUESTS FOR                                                   YOUNG & LAZZARINI
                 PRODUCTION [SET ONE]                         -8 -                         770 L STREET, SUITE 950
                                                                                          SACRAMENTO, CA 95814
                                                                                                      916.929.6865
Filed 03/01/22                                  Case 18-02187                                                       Doc 311


           1     Document ID Document Name                         Description
           2     199907975002 Tirpak Settlement                    Settlement Agreement
           3                       Agreement
           4
           5     RESPONSE TO REQUEST NUMBER 15:
           6           Plaintiff has not alleged any refusal to test the VEHICLE relating to its use as
           7     a meth lab.
           8           San Rafael Police Department arrested Albert Akins on drug related charges.
           9     Documents relating to his drug arrest are attached as follows:
           10
           11    Document ID       Document Name                   Description
           12    201804975004 Akins Marin Criminal                 NORCAL Arrest Report
           13                      Complaint
           14
           15    RESPONSE TO REQUEST NUMBER 16:
           16          Plaintiff has not alleged any refusal to test the VEHICLE relating to its use as
           17    a meth lab.
           18          San Rafael Police Department arrested Albert Akins on drug related charges.
           19    Documents relating to his drug arrest are attached as follows:
           20
           21    Document ID       Document Name                   Description
           22    201804975004 Akins Marin Criminal                 NORCAL Arrest Report
           23                      Complaint
           24
           25
           26    RESPONSE TO REQUEST NUMBER 17:
           27          In his First Amended Complaint, Plaintiff Dominique Black alleges a unity of
           28    interest between Nor-Cal Classic GMC Motorhome, David Tirpak, Anthony

                 RESPONSES TO REQUESTS FOR                                                  YOUNG & LAZZARINI
                 PRODUCTION [SET ONE]                       -9 -                          770 L STREET, SUITE 950
                                                                                         SACRAMENTO, CA 95814
                                                                                                     916.929.6865
Filed 03/01/22                                  Case 18-02187                                                   Doc 311


           1
                 Sarganis, Albert Akins, and Joseph H. Akins, Sr (collectively, “NORCAL”). All
           2
                 payments to NORCAL are payments to all members of NORCAL including Joseph
           3
                 H. Akins, Sr., individually.
           4
                    Documents attached as described below:
           5
           6     Document ID       Document Name                       Description
           7     200902975001 CV 081975 First Amended                  CV 081975 First
           8                       Complaint - Marin                   Amended Complaint
           9     200707975005 Receipts and Invoices                    Supporting Financial
           10                      (Folders A and B)                   Documents
           11
           12
           13    Dated: December 30, 2020              YOUNG & LAZZARINI
           14
           15
                                                       /s/ Nicholas Lazzarini
           16                                                    NICHOLAS LAZZARINI
           17                                                       Attorney for Plaintiff
                                                                   DOMINQUE BLACK
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28
                 RESPONSES TO REQUESTS FOR                                              YOUNG & LAZZARINI
                 PRODUCTION [SET ONE]                     - 10 -                      770 L STREET, SUITE 950
                                                                                     SACRAMENTO, CA 95814
                                                                                                 916.929.6865
Filed 03/01/22   Case 18-02187       Doc 311




                                 4
Filed 03/01/22   Case 18-02187   Doc 311
